Case: 2:19-cv-03689-MHW-KAJ Doc #: 27 Filed: 10/13/20 Page: 1 of 3 PAGEID #: 87




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

  Mary M. Laile (as personal representative         CIVIL ACTION NO. 2:19-cv-3689
  and Special Administrator of the Estate of
  Donna Gail Castleberry AKA Donna Gail
  Dalton, Decedent),
                                Plaintiff,
                                                    JUDGE MICHAEL H. WATSON
  vs.

  Andrew K. Mitchell, et. al.                       MAGISTRATE JUDGE
                                                    KIMBERLY L. JOLSON
                                Defendants.

                   SECOND JOINT STATUS REPORT OF THE PARTIES

         Plaintiff Mary M. Laile, (as personal representative and Special Administrator of

  the Estate of Donna Gail Castleberry AKA Donna Gail Dalton, Decedent), by and

  through the undersigned counsel, Defendants City of Columbus and Kim Jacobs by and

  through the undersigned counsel, hereby makes the following STATUS REPORT

  pursuant to the Court’s September 1, 2020 ORDER:

         In their Joint Status report filed herein on August 31, 2020 (Doc#24), the parties

  reported that they have arrived at a tentative settlement subject to approval of Franklin

  County Probate Court for the approval of the settlement amount and for authority to

  execute the proposed release and a dismissal of the within action with prejudice.

  Approval of the proposed settlement is expected as all but one of the interested relatives

  or parties has signed a waiver consenting to the approval. One essential relative whose

  waiver signature is required is out of town and not available for upwards to two weeks.

  Upon that person’s return, the required signature will be obtained and filed with Probate

  Court. Thereafter, absent any unforeseen issues, it is expected that the Court will approve

  of the settlement.


                                               1
Case: 2:19-cv-03689-MHW-KAJ Doc #: 27 Filed: 10/13/20 Page: 2 of 3 PAGEID #: 88




         The next step thereafter is for the City of Columbus pass the appropriate

  legislation approving the settlement and allocating the funds. Once this has been done,

  the parties intend to file a stipulated dismissal with prejudice.

                                         Respectfully submitted

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                                         /s/ Westley M. Phillips
                                         By /s/ John W. Waddy, Jr. per
                                         Email authority of 10-13-2020
                                         Westley M. Phillips (0077728) -Lead
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                                                 2
Case: 2:19-cv-03689-MHW-KAJ Doc #: 27 Filed: 10/13/20 Page: 3 of 3 PAGEID #: 89




                                CERTIFICATE OF SERVICE

      I hereby certify that on the 13th day of October, 2020, I electronically filed the foregoing

  SECOND JOINT STATUS REPORT OF THE PARTIES with the Clerk of the Court using

  the CM/ECF system which will send notification of such filing to the following:




  CITY OF COLUMBUS, DEPARTMENT OF LAW
  ZACK KLEIN, CITY ATTORNEY

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                                                3
